Case 0:21-cr-60020-WPD Document 593 Entered on FLSD Docket 03/17/2022 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                       CASE NO. 21-CR-60020-DIMITROULEAS/SNOW


  UNITED STATES


  v.


  JONATHAN MARKOVICH, and
  DANIEL MARKOVICH,
                    Defendants.
  __________________________________/
                 NOTICE OF FILING OF VICTIM IMPACT STATEMENTS

         The United States, through undersigned counsel, respectfully submits this Notice of Filing

  of Victim Impact Statements in advance of the sentencing hearings for Defendants Jonathan and

  Daniel Markovich. The victim impact statements include patient identities and treatment histories.

  Therefore, the Government has submitted Exhibit A to this filing under seal.

  Dated: March 17, 2022                               Respectfully submitted,

                                                      JUAN ANTONIO GONZALEZ
                                                      UNITED STATES ATTORNEY
                                                      SOUTHERN DISTRICT OF FLORIDA

                                                      JOSEPH S. BEEMSTERBOER
                                                      ACTING CHIEF, FRAUD SECTION
                                                      CRIMINAL DIVISION
                                                      DEPARTMENT OF JUSTICE

                                               By:    /s/ Jamie de Boer____________________
                                                      JAMES V. HAYES (FL Bar # A5501717)
                                                      Senior Litigation Counsel
                                                      JAMIE DE BOER (FL Bar # A5502601)
                                                      ANDREA SAVDIE (FL Bar # A5502799)
                                                      Trial Attorneys
                                                  1
Case 0:21-cr-60020-WPD Document 593 Entered on FLSD Docket 03/17/2022 Page 2 of 2




                                            United States Department of Justice
                                            Criminal Division, Fraud Section
                                            1400 New York Avenue, N.W.
                                            Washington, D.C. 20005
                                            Telephone: (202) 774-4276 (Hayes)
                                            Telephone: (202) 304-6801 (de Boer)
                                            Telephone: (202) 262-6453 (Savdie)
                                            James.Hayes@usdoj.gov
                                            Jamie.DeBoer@usdoj.gov
                                            Andrea.Savdie@usdoj.gov




                                        2
